                                                    (SPACE BELOW FOR FILING STAMP ONLY)
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 1      ERIC H. SCHWEITZER #179776
       SCHWEITZER & DAVIDIAN, APC
 2    620 DeWitt Avenue, Suite 102
         Clovis, California 93612
 3          Phone: 559-322-1500
            Fax:   559-322-1551
 4
       ATTORNEY FOR: YADWINDER SINGH
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 6
                         UNITED STATES DISTRICT COURT
 7
                        EASTERN DISTRICT OF CALIFORNIA
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                                 * * * * * * * *
 9
     UNITED STATES OF AMERICA,           Case No.: 1:11-CR-00275-003 LJO
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                    Plaintiff,
11                                       STIPULATION AND ORDER TO
            vs.                          CONTINUE OCTOBER 29, 2012,
12                                       SENTENCING HEARING
     YADWINDER SINGH,
13
                    Defendant.
14                                       Hon. Lawrence J. O’Neill             D-4
15         TO THE HONORABLE LAWRENCE J. O’NEILL:
16         IT IS HEREBY STIPULATED by and between the parties hereto,
17   by and through their representative attorneys of record, that the
18   Sentencing Hearing regarding Defendant Singh, presently scheduled
19   for hearing on Monday, October 29, 2012, at 8:30 a.m., in
20   Courtroom 4, be continued to Monday, November 19, 2012, at 8:30
21   a.m., in Courtroom 4 - subject to a new Disclosure Schedule
22   issued by the United States Probation Office.
23         This stipulation is based on good cause, as Mr. Schweitzer
24   will have insufficient time to prepare Informal Objections to the
25   Probation Report or a Formal Objection filed with Court - should
26   it be necessary since the Probation Report has not yet been
27   filed.
28   ///
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 1        The delay in the filing of the report was in part due to Mr.
 2   Schweitzer’s unavailability (due to a trial at the Fresno County
 3   Superior Court lasting over one month) as well as calendering
 4   conflicts with Mr. Schweitzer, Ms. Kirk of the United States
 5   Probation Office, and Mr. Rama Dawar (an interpreter).
 6        The Government is available to proceed with the Sentencing
 7   Hearing on November 19, 2011, at 8:30 a.m., in Courtroom 4,
 8   subject to new Disclosure Schedule issued by the United States
 9   Probation Office.
10        The delay resulting from this continuance shall be excluded
11   in the interests of justice under 18 U.S.C. §3161(h)(7)(A) and
12   §3161(h)(7)(B)(ii).
13
14   Dated: October 15, 2012.            Respectfully submitted,
                                         SCHWEITZER & DAVIDIAN, APC.
15
16
                                      By: /s/ ERIC H. SCHWEITZER
17                                        ERIC H. SCHWEITZER
                                          Attorney for Defendant,
18                                        YADWINDER SINGH
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     Dated: October 15, 2012.            UNITED STATES ATTORNEY
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22
                                      By: /s/ HENRY Z. CARBAJAL III
23                                       HENRY Z. CARBAJAL III
                                         Assistant U.S. Attorney
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 1                                      ORDER
 2            Good cause appearing therefor,
 3            The Sentencing Hearing currently set for October 29, 2012,
 4   at 8:30 a.m., in Department 4, is vacated and is calendared for
 5   November 19, 2012, at 8:30 a.m., in Department 4.
 6            A new Disclosure Schedule is to be prepared by the Untied
 7   States Probation Office.       No further continuances.
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11      IT IS SO ORDERED.
12   Dated:     October 16, 2012           /s/ Lawrence J. O'Neill
     b9ed48                            UNITED STATES DISTRICT JUDGE
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